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                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 OCLC, Inc.
                                                     Case No. 2:24-cv-00144-MHW-EDP
                Plaintiff,

          v.
                                                     Judge Michael H. Watson
 ANNA’S ARCHIVE, f/k/a PIRATE
 LIBRARY MIRROR, et al.,                             Magistrate Judge Elizabeth A.
                                                     Preston Deavers
                Defendants.


                DECLARATION OF KATHRYN M. BROWN IN SUPPORT
                  OF PLAINTIFF OCLC, INC.’S APPLICATION FOR
                             ENTRY OF DEFAULT


         I, Kathryn M. Brown, an attorney for Plaintiff OCLC, Inc. (“OCLC”), declare, under

penalty of perjury, the following:

         1.    I am an associate with the law firm of Squire Patton Boggs (US) LLP, 2000

Huntington Center, 41 South High Street, Columbus, Ohio 43215, which represents Plaintiff

OCLC in this case.

         2.    I have knowledge of the facts stated herein based on personal knowledge.

         3.    Counsel commenced this action on behalf of OCLC on January 12, 2024 by filing

an original complaint with the United States District Court for the Southern District of Ohio,

Eastern Division.

         4.    On January 24, 2024, OCLC filed a Motion to Serve Defendant Anna’s Archive by

Email.

         5.    On March 22, 2024, this Court granted OCLC’s Motion to Serve Defendant Anna’s

Archive By Email.
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       6.      On March 27, 2024, OCLC presented the Clerk with a summons directed to

Defendant Anna’s Archive at known email addresses, and the Clerk issued the summons for OCLC

to serve to Defendant Anna’s Archive.

       7.      On March 28, 2024, pursuant to this Court’s March 22, 2024 Order, I served the

issued summons, along with the Complaint and other case initiating documents in this matter, to

the   following     email     addresses:    annaarchivist@proton.me;    AnnaDMCA@proton.me;

annaarchivist+security@proton.me; and domainabuse@tucows.com. Attached as Exhibit A are

true and accurate copies of these emails.

       8.      On     March     28,   2024,    I     received   one   bounce-back    email     from

AnnaDMCA@proton.me, which indicated that the email could not be delivered because the

recipient mailbox was full. Attached as Exhibit B is a true and accurate copy of this email.

       9.      On March 28, 2024, I initiated a second attempt at serving only the issued summons

and Complaint on AnnaDMCA@proton.me. Attached as Exhibit C is a true and accurate copy of

this email.

       10.     On March 28, 2024, I received the same bounce-back email from

AnnaDMCA@proton.me, which indicated that the email could not be delivered because the

recipient mailbox was full. Attached as Exhibit D is a true and accurate copy of this email.

       11.     Except for the occurrences detailed above, I received no other responses or bounce-

back emails in connection with my March 28, 2024 service emails.

       12.     Rule 12(a)(1)(A) of the Federal Rules of Civil Procedure requires Defendant to

answer the Complaint within twenty-one days after being served.

       13.     Under the Federal Rules of Civil Procedure, twenty-one days after March 28, 2024

was April 18, 2024.


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       14.    Defendant Anna’s Archive was thus required to answer the Complaint by no later

than April 18, 2024.

       15.    Defendant Anna’s Archive has failed to answer OCLC’s Complaint or to otherwise

make any appearances in this action.



       I declare under penalty of perjury that the foregoing is true and correct. Executed on June

28, 2024.




                                                 /s/ Kathryn M. Brown
                                                 Kathryn M. Brown




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